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                       Exhibit “A”
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                       Exhibit “B”
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                                                                                                                                                                                        11/23/2020

                                                                                                                                                                           NADA Used Cars/Trucks

 Vehicle Information
   Vehicle:                 2018 Cadillac CT6 Sedan 4D AWD 3.6L
                                                             V6
   Region:                                               Central
   Period:                                    November 23, 2020
   VIN:                                    1G6KB5RS7JU157249
   Mileage:                                              42,500
   Base MSRP:                                           $56,095
   Typically Equipped MSRP:                             $60,590

 NADA Used Cars/Trucks Values
                                                                                           Base                     Mileage Adj.                          Option Adj.            Adjusted Value
 Monthly
 Trade-In
  Rough                                                                            $23,450                                         N/A                                 N/A            $23,450
  Average                                                                          $25,675                                         N/A                                 N/A            $25,675
  Clean                                                                            $27,550                                         N/A                                 N/A            $27,550

  Clean Loan                                                                       $24,800                                         N/A                                 N/A            $24,800
  Clean Retail                                                                     $30,750                                         N/A                                 N/A            $30,750
 Weekly
 Auction
  Low                                                                              $22,550                                      $147                                   N/A            $22,697
  Average                                                                          $24,950                                      $147                                   N/A            $25,097
  High                                                                             $27,375                                      $147                                   N/A            $27,522

  Clean Loan                                                                       $25,450                                         N/A                                 N/A            $25,450
  Clean Retail                                                                     $31,500                                         N/A                                 N/A            $31,500
 *The auction values displayed include typical eqiupment and adjustments for mileage and any of the following applicable accessories: engine size, drivetrain, and trim.




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